   Case: 1:24-cv-06795 Document #: 179 Filed: 11/26/24 Page 1 of 6 PageID #:1843




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION



 IN RE: MULTIPLAN HEALTH                              Case No. 1:24-cv-06795
 INSURANCE PROVIDER LITIGATION                        MDL No. 3121

 This Document Relates To:                            Hon. Matthew F. Kennelly

 ALL ACTIONS


                            CASE MANAGEMENT ORDER NO. 6
                             (Consolidated Master Complaint and
                              Individual Short Form Complaints
                                 for Direct Action Plaintiffs)

       To avoid future disagreement, Plaintif6fs’ Coordinating Counsel, the Direct Action

Plaintiff (“DAP”) Executive Committee, and Defendants’ Liaison Counsel have met and conferred

regarding the upcoming DAP Complaint filings. Regarding the Consolidated Master Direct Action

Plaintiff (“DAP”) Complaint, ordered to be filed on November 18, 2024, the DAPs and Defendants

have agreed to, and propose for the Court’s consideration, the following procedures, which shall

govern all DAP cases in this MDL proceeding. No DAP case may be brought in this MDL other

than pursuant to the terms of this Order and applicable previous and future orders from the Court,

including the proposed Direct Filing Order to be submitted to the Court by November 22, 2024

pursuant to CMO 4. This Order is binding on all parties and their counsel in all such cases. Nothing

in this Order is intended to (or does) alter the applicable provisions of the Federal Rules of Civil

Procedure or the Local Rules of this Court, except as otherwise provided herein or in any

subsequent order. This Order expressly preserves all defenses, including jurisdictional, venue, and

any other challenges under Federal Rule of Civil Procedure 12(b)(1), which will be briefed and

decided at a later point in time as determined by the Court.



                                                 1
     Case: 1:24-cv-06795 Document #: 179 Filed: 11/26/24 Page 2 of 6 PageID #:1844




        A.    Master DAP Complaint

              1.      Timing. Nothing in this Order affects the timing for the filing of a

Consolidated Master Complaint for the Direct Action Plaintiffs (“Consolidated Master DAP

Complaint”) and anticipated motions to dismiss and/or compel arbitration as set forth in CMO 4.

              2.      Effect of Master DAP Complaint.

                      a. All claims pleaded in the Consolidated Master DAP Complaint will

                         supersede and replace all claims in any DAP action pending in this

                         MDL. Nothing in this Order shall preclude the DAP EC from seeking

                         leave to amend the Consolidated Master DAP Complaint as provided in

                         the Federal Rules of Civil Procedure.

                      b. For every individual Direct Action Plaintiff in this MDL proceeding, the

                         Consolidated    Master       DAP    Complaint       (and   any   subsequent

                         amendments, if applicable) combined with the Short Form Complaint

                         filed by that Plaintiff pursuant to the terms below (and any subsequent

                         amendments, if applicable), shall be deemed that Plaintiff’s legally

                         operative   pleading.       Notwithstanding   the    combination    of   the

                         Consolidated Master DAP Complaint and the Short Form Complaint,

                         each DAP’s case shall retain its individual nature, including for

                         purposes of any applicable rights under Lexecon Inc. v. Milberg Weiss

                         Bershad Hynes & Lerach, 523 U.S. 26, 35-37, 41-42 (1998).

B.      Short Form Complaints

              1.      The DAP EC will attach as Exhibit A to the Consolidated Master DAP

Complaint a proposed form Short Form Complaint for use by individual DAPs in current and




                                                 2
   Case: 1:24-cv-06795 Document #: 179 Filed: 11/26/24 Page 3 of 6 PageID #:1845




future-filed DAP cases in this MDL. Defendants reserve the right to raise any unresolved issues

concerning the proposed form Short Form Complaint at the scheduled November 26, 2024

conference.

                2.      The Short Form Complaint will be an abbreviated form pleading that each

DAP will complete to adopt all of the factual allegations set forth in the Consolidated Master DAP

Complaint, and to indicate the claim or claims set forth in the Consolidated Master DAP Complaint

that each DAP chooses to assert. The Short Form Complaint shall be deemed to adopt the

allegations set forth in the Consolidated Master DAP Complaint by reference and in addition shall

contain, for each individual case:

                        a.     the name of the DAP;

                        b.     each DAP’s state of incorporation/organization and the state in

which the DAP has its principle place of business;

                        c.     If the DAP’s case was originally filed in or removed to another

federal district court and then transferred to this MDL, the federal district court in which the action

was originally filed or to which it was removed;

                        d.     the injuries the DAP alleges resulted from the challenged conduct;

                        e.     the specific Defendant(s) named in the Master Complaint against

whom the DAP asserts claims;

                        f.     As to each Defendant, the causes of action in the Consolidated

Master DAP Complaint the DAP adopts, indicated by checking the applicable box on the Short

Form Complaint; and

                        g.     Any additional facts demonstrating the DAP has standing to bring

its causes of action.




                                                   3
   Case: 1:24-cv-06795 Document #: 179 Filed: 11/26/24 Page 4 of 6 PageID #:1846




               3.      Other than as expressly set forth above, absent further direction or leave of

Court, each Short Form Complaint filed by a party represented by a member of the DAP EC may

not, during the motion to dismiss process, assert additional factual allegations, claims and/or

causes of action or name Defendants not named in the Consolidated Master DAP Complaint.

               4.      Timing and Effect of Filing Short Form Complaints.

                       a.     Any DAPs whose complaint was transferred or reassigned to this

MDL before filing of the Consolidated Master DAP Complaint must file a Short Form Complaint

(in his or her individual case referencing their individual docket number), within fourteen (14)

days of the date on which the Consolidated Master DAP Complaint is filed, provided that the

members of the DAP EC shall file Short Form Complaints on November 18, 2024 for at least 50%

of such DAPs represented by the DAP EC and shall file Short Form Complaints for all of the

remaining such DAPS represented by the DAP EC by 5:00 pm CT on November 25, 2024. Any

motion to dismiss filed against the Consolidated Master DAP Complaint shall be deemed filed

against all plaintiffs who have filed direct action complaints in this action and filed Short Form

Complaints in compliance with this Order.

                       b.     Any DAP whose complaint is transferred or reassigned to this MDL

after the filing of the Consolidated Master DAP Complaint must file a Short Form Complaint

within 21 days of the date on which the MDL Court posts the applicable transfer or reassignment

order on its docket,

                       c.     For purposes of statutes of limitations and statutes of repose, a DAP

shall be deemed to have filed its complaint as of the date on which that DAP first filed a long-form

complaint in any district or, if the DAP has only filed a Short Form Complaint, the date on which

it filed the Short Form Complaint, and not the date on which the Consolidated Master DAP




                                                 4
     Case: 1:24-cv-06795 Document #: 179 Filed: 11/26/24 Page 5 of 6 PageID #:1847




Complaint is filed. Nothing in this Order or the filing of a Short Form Complaint shall be construed

as a prior dismissal or amendment of a prior complaint, but the prior complaint shall no longer be

deemed the operative complaint.

        5.      Amended Short Form Complaints. Any DAP that has filed a Short Form

Complaint and wishes to amend the same may do so under the parameters of the Federal Rules of

Civil Procedure and this Court’s relevant Orders. Any amended Short Form Complaint shall

specify in its title “Amended Short Form Complaint.”

C.      Master Answer

        1.      If any Defendant files a motion to dismiss the Consolidated Master DAP Complaint

and such motion does not result in the dismissal of the Consolidated Master DAP Complaint in its

entirety, that Defendant shall file a Master Answer to the Consolidated Master DAP Complaint as

well as, if applicable, individual Answers to any Short Form Complaints at a date to be determined

by the Court.

        2.      Each Defendant’s Master Answer to the Consolidated Master DAP Complaint shall

be filed on the MDL No. 3121 docket and also on the individual docket for each DAP action, and

each Master Answer shall be deemed to be that Defendant’s Answer to all properly served

complaints in which that Defendant is named, whether a Short Form Complaint or otherwise, in

any case now or in the future pending in this MDL, including those cases filed directly in this MDL

consistent with this Order, transferred to this MDL, or removed to this Court and included in this

MDL. The Parties agree that all affirmative defenses pleaded in each of the Defendant’s Master

Answer to the Consolidated Master DAP Complaint are deemed incorporated in response to any

Short Form Complaint.




                                                 5
   Case: 1:24-cv-06795 Document #: 179 Filed: 11/26/24 Page 6 of 6 PageID #:1848




       3.      Defendants are not required to file an individual Answer to any Short Form

Complaint filed in this MDL, or in any case transferred into this MDL, unless otherwise ordered

to do so by this Court.

       4.      By agreeing to the procedures for filing the Consolidated Master DAP Complaint

and the Short Form Complaints, no Defendant has agreed to or admitted the allegations that will

be set forth in those documents, nor has any Defendant conceded or waived its rights to dispute

the legal validity of the claims alleged therein. Defendants also retain all of their rights under

Lexecon, Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998).

       IS IT SO ORDERED.



       Dated: 11/26/2024
                                                            ______________________________
                                                                   Matthew F. Kennelly
                                                                    U.S. District Judge




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